
983 So.2d 913 (2008)
STATE ex rel. Brandon STEVENSON
v.
STATE of Louisiana.
No. 2007-KH-1847.
Supreme Court of Louisiana.
June 6, 2008.
In re Stevenson, Brandon;  Plaintiff; Applying for Supervisory and/or Remedial Writs, Parish of Jefferson, 24th Judicial District Court Div. P, No. 01-1062; to the Court of Appeal, Fifth Circuit, No. 07-KH-450.
Denied. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189.
